











Opinion issued April 22, 2009








&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;







In The
Court of Appeals
For The
First District of Texas




NO. 01-09-00293-CV




IN RE ORGENA KEENER, Relator




Original Proceeding on Petition for Writ of Mandamus 




MEMORANDUM OPINION

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Relator, Orgena Keener, filed a petition for writ of mandamus challenging
respondent’s


 March 30, 2009 order, entitled, “Order Granting Petitioner’s Discovery
Motion.”  We deny the petition for writ of mandamus.

PER CURIAM


&nbsp;
Panel consists of Justices Jennings, Keyes, and Higley.


